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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOSHUA DWANE BACON,                                 Civil No. 3:23-cv-1699

              Plaintiff                             (Judge Mariani)
       V.

LUZERNE COUNTY, et al.,

              Defendants

                               ~           ORDER

       AND NOW, this      .ill-   day of April, 2024, upon consideration of Defendants'

motion (Doc. 3) to dismiss, and the parties' respective briefs in support of and in opposition

to said motion, and for the reasons set forth in the accompanying Memorandum, IT IS

HEREBY ORDERED THAT:

       1.     The motion (Doc. 3) is GRANTED.

       2.     Plaintiff's complaint (Doc. 1-1) is DISMISSED with leave to amend. On or
              before May 10, 2024, Plaintiff may file an amended complaint only with
              respect to his Eighth Amendment failure to protect claim and municipal
              liability claim.

       3.     Failure to comply with this Order shall be construed as an indication that
              Plaintiff is no longer interested in proceeding with the action and shall result in
              a dismissal without prejudice.

       4.     Any appeal from this Order is dee        frivolous and not taken in good faith.
              See 28 U.S.C. § 1915(a)(3).



                                            Robert D. Mai:i
                                            United States District Judge
